851 F.2d 1501
    271 U.S.App.D.C. 274
    Unpublished DispositionNOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Robert HOWARD, et al., Appellants,v.HOWARD UNIVERSITY, a Washington, D.C. Corporation.
    No. 87-7049.
    United States Court of Appeals, District of Columbia Circuit.
    May 18, 1988.
    
      Before MIKVA, D.H. GINSBURG and SENTELLE, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This case was considered on the record on appeal from the United States District Court for the District of Columbia and on the briefs filed by the parties.  The court has determined that the issues presented occasion no need for a published opinion.  See D.C.Cir. Rule 14(c).  It is
    
    
      2
      ORDERED and ADJUDGED by the court that the district court's Memorandum Opinion and Order filed February 10, 1987, dismissing appellants' amended complaint with prejudice, and Order filed February 10, 1987, denying appellants' motion to strike and imposing sanctions against appellants' counsel in the amount of $100.00, be affirmed substantially for the reasons stated therein.  It is
    
    
      3
      FURTHER ORDERED on the court's own motion that appellant's counsel show cause within fifteen (15) days of the date of this order why this court should not impose sanctions for prosecuting a frivolous appeal.  See Fed.R.App.P. 38.
    
    
      4
      The Clerk is directed to withhold the issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir. Rule 15.
    
    